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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


IN THE MATTER OF THE                               CASE NO. 3:19MJ510-MJN
SEARCH OF:
Samsung Account Associated with Email address
CNNRBETTS477@gmail.com that is stored at
premises controlled by Samsung Electronics America, Inc.


            _____________________________________________________________

         MOTION TO SEAL SEARCH WARRANT, APPLICATION, SUPPORTING
                            AFFIDAVIT AND RETURN
         ______________________________________________________________

       Now comes the United States Attorney and moves this Court, pursuant to Rule 16(d)(1) of

the Federal Rules of Criminal Procedure, and the Court's inherent power to control papers filed

with the Court, for a protective order sealing the Search Warrant, Application, Supporting

Affidavit and Return until January 31, 2020.

       In support of this Motion, the United States Attorney states:

       1.      An Order was issued on August 16, 2019.

       2.      That there is no Indictment or Information pending before any United States

District Court which necessitates the disclosure of the Supporting Affidavit at this time.

       3.      Pursuant to Rule 12 of the Federal Rules of Criminal Procedure the proper time for

moving to suppress evidence obtained pursuant to the search warrant is subsequent to the filing of

an Indictment or Information and Arraignment thereon. Therefore, no prejudice would be caused

to any defendant or potential defendant by the granting of this motion.




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       4.     That the disclosure of certain information and statements contained in said

documents would hamper an ongoing criminal investigation.

       WHEREFORE, the United States of America respectfully requests that the Search Warrant,

Application, Supporting Affidavit and Return be sealed and kept from public inspection until

January 31, 2020.


                                                  Respectfully submitted,

                                                  BENJAMIN C. GLASSMAN
                                                  United States Attorney


                                                  s/Vipal J. Patel
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